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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

                                               )
SIERRA CLUB, MINNESOTA                         )
CENTER FOR ENVIRONMENTAL                       )
ADVOCACY, INDIGENOUS                           )
ENVIRONMENTAL NETWORK,                         )   Civ. No. 0:09-cv-02622-(DWF/RLE)
and NATIONAL WILDLIFE                          )
                                               )
FEDERATION,
                                               )   PLAINTIFFS’ MOTION FOR
                                               )   SUMMARY JUDGMENT
               Plaintiffs,                     )
        v.                                     )
                                               )
                                               )   Hon. Donovan W. Frank
HILLARY CLINTON, in her official                   U.S. District Judge
                                               )
capacity as Secretary of State, JAMES          )
STEINBERG, in his official capacity as         )
Deputy Secretary of State, UNITED              )   Hearing Date: August 9, 2010
STATES DEPARTMENT OF STATE,,                   )   Time: 9:00 am
Lieutenant General ROBERT L. VAN               )
ANTWERP, in his official capacity as U.S. )
Army Chief of Engineers and Commanding )
General of the U.S. Army Corps of              )
Engineers; Colonel JON L.                      )
CHRISTENSEN, in his official capacity as )
District Engineer and Commander of the         )
                                               )
U.S. Army Corps of Engineers; the
                                               )
UNITED STATES ARMY CORPS OF                    )
ENGINEERS, TOM TIDWELL, in his                 )
official capacity as Chief of the United       )
States Forest Service; ROB HARPER, in his )
official capacity as Forest Supervisor for the )
Chippewa National Forest; and the UNITED )
STATES FOREST SERVICE,                         )
                                               )
               Defendants,                     )
and                                            )
                                               )
ENBRIDGE ENERGY, LIMITED                       )
PARTNERSHIP                                    )
                                               )
                                               )
            Intervenor-Defendant.
                                               )
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       Plaintiffs Sierra Club, Minnesota Center for Environmental Advocacy, National

Wildlife Federation, and Indigenous Environmental Network (“Plaintiffs”) hereby move

for summary judgment, pursuant to Fed. R. Civ. P. 56 and Local Rule 7.1(b). This

motion is being filed in the above-captioned case, presided over by U.S. District Judge

Donovan Frank. A hearing on this Motion has been set for August 9, 2010 at 9:00am.

       Plaintiffs are entitled as a matter of law to summary judgment because Defendants

U.S. Department of State, U.S. Army Corps of Engineers, and U.S. Forest Service et al.

(collectively “Defendants”) violated the National Environmental Policy Act, 42 U.S.C.

§§ 4321 et seq. (“NEPA”), its implementing regulations, and the Administrative

Procedure Act, 5 U.S.C. §§ 701 et seq. (“APA”), when they issued their final

Environmental Impact Statement (“EIS”) and permitting decision notices for the Alberta

Clipper (“AC”) and Southern Lights diluent (“SLD”) pipeline projects.

       The EIS violates NEPA because it: i) fails to provide a valid statement of purpose

and need, and to consider reasonable alternatives—including the “no action”

alternative—for the projects; ii) fails to take a “hard look” at the impacts of the SLD

pipeline; iii) fails to assess all reasonably foreseeable indirect and cumulative impacts of

the projects; and iv) fails to evaluate the impacts of abandonment of the pipelines.

       Accordingly, Plaintiffs respectfully request that this Court grant Plaintiffs’ Motion

for Summary Judgment and remand with instructions to Defendants to provide the

environmental analysis NEPA requires.

       In support of this Motion, Plaintiffs submit the accompanying Memorandum in

Support, the Declaration of Sarah Burt and exhibits thereto, and Plaintiffs Request for

Judicial Notice.




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                                      Respectfully submitted,



Dated: May 21, 2010                   _/s/ Sarah H. Burt____________
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                                      _/s/ Kevin Reuther___________
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                                      _/s/ Eric E. Huber____________
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